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 6                        IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
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 9   John J Hurry, et al.,                         No. CV-14-02490-PHX-ROS
10                  Plaintiffs,                    ORDER
11   v.
12   Financial Industry Regulatory Authority
     Incorporated, et al.,
13
                    Defendants.
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15          Pursuant to the Parties’ Stipulated Request to Continue Deadline for FINRA to
16   File Reply In Support of Its Motion for Summary Judgment (First Request) and good
17   cause appearing,
18          IT IS ORDERED the stipulation (Doc. 182) is GRANTED. The deadline for
19   defendant Financial Industry Regulatory Authority, Inc. to file and serve its reply in
20   support of its motion for summary judgment shall be continued from August 24, 2017, to
21   August 31, 2017.
22          Dated this 15th day of August, 2017.
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25                                                   Honorable Roslyn O. Silver
                                                     Senior United States District Judge
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